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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE



 JOHN DOE,

                        Plaintiff,                  Civil Action No.: 1:19-cv-00013-JL
        v.

TRUSTEES OF DARTMOUTH COLLEGE,

                        Defendant.



                                     PLAINTIFF’S EXHIBIT LIST

       NOW COMES Plaintiff, John Doe, by and through counsel, Shaheen & Gordon, P.A.,

respectfully submits the following exhibit list for the Preliminary Injunction Hearing scheduled

for January 24, 2019:

       1.       Unified Disciplinary Procedures for Sexual Assault (Doc. 16-1);

       2.       November 29, 2018 Confidential Report of Dartmouth College Investigation of

Sexual Misconduct (Final Report) (DC0000001-DC0000020);

       3.       Sally Smith Interviews:

       3a.      June 24, 2018 Interview with Sally Smith by Hanover PD (DC0000146-

       DC0000178);

       3b.      July 18, 2018 Interview with Sally Smith by Investigator Hellstedt (DC0000029-

       DC0000077);

       3c.      August 17, 2018 Interview with Sally Smith by Investigator Hellstedt

       (DC0000078-DC0000132);

       4.       John Does Interviews:



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     4a.      August 1, 2018 Interview with John Doe by Investigator Hellstedt (DC0000179-

     DC0000262);

     4b.      August 17, 2018 Interview with John Doe by Investigator Hellstedt (DC0000263-

     DC0000290);

     5.       Text Messages between Sally Smith and John Doe:

     5a.      Texts Submitted to investigator by Sally Smith (DC0000509-DC0000511);

     5b.      Texts Submitted to Investigator by John Joe (DCC0000562-DC0000588);

     5c.      Comparison Chart of Texts Submitted to Investigator by Sally Smith and John

     Doe;

     6.       Text Messages between Sally Smith and LH (DCC0000544-DC0000551);

     7.       Text Messages between Sally Smith and ZA (DCC0000512-DC0000521);

     8.       Text Messages between Sally Smith and CH (DCC0000590-DC0000594);

     9.       Photos of Sally Smith (DC0000505-DC0000508);

     10.      May 20, 2018 and May 21, 2018 emails between Kristi Clemens and Sally Smith

(DC0000138-DC00000139);

     11.      July 5, 2018 letter from Katharine Strong to John Doe (DC0000025-DC0000026);

     12.      July 5, 2018 letter from Katharine Strong to Sally Smith (DC0000027-

DC0000028);

     13.      7-13-18 Statement of Understanding of Students’ Rights in Disciplinary Matters

(DC0000657-DC0000659)

     14.      July 18, 2018 email from Sally Smith to Investigator Hellstedt (DC00000140);

     15.      July 20, 2018 letter from Cabot Traihout to Investigator Hellstedt

     16.      July 30, 2018 Polygraph Examination Report;



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      17.      July 31, 2018 email from Sally Smith to Investigator Hellstedt (DC00000141);

      18.      August 20, 2018 letter from George Ostler to Investigator Hellstedt;

      19.      August 25, 2108 email from Sally Smith to Investigator Hellstedt (DC00000144);

      20.      September 4, 2018 letter from Dana Scaduto to George Ostler;

      21.      September 7, 2108 email from Sally Smith to Investigator Hellstedt

(DC00000144);

      22.      September 21, 2018 Confidential Report of Dartmouth College Investigation of

Sexual Misconduct (Preliminary Report) (DC0000665-DC0000678);

      23.      October 8, 2018 letter from John Doe to Investigator Hellstedt (DC00000647-

DC0000656);

      24.      October 18, 2018 to October 26, 2018 email chain between Dartmouth College

and Hanover PD (DCC0001295-DCC0001299);

      25.      October 30, 2018 to November 6, 2018 emails between Dana Scaduto and Lara

Saffo (DCC0001300-DCC0001301);

      26.      November 16, 2018 letter from TD Securities to John Doe;

      27.      John Doe Sanctioning Statement;

      28.      Sally Smith Sanctioning Statement (DC0000636-DC0000638);

      29.      December 19, 2018 John Doe Appeal Letter (DC0000639-DC0000645);

      30.      January 21, 2019 Dartmouth response to Appeal Letter;

      31.      2011 DOE “Dear Colleague” Letter;

      32.      2017 DOE “Dear Colleague” Letter;

      33.      2017 DOE Q&A on Campus Sexual Misconduct;

      34.      2018 DOE Proposed Title IX Regs, 83 FR 61462;



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35.      Rebecca Biron, “Behind Closed Doors: Rape, Murder and the Misplaced

Confidence of Men,” Pacific Standard (May 8, 2014), https://psmag.com/social-

justice/behind-closed-doors-rape-murder-misplaced-confidence-men-81024;

36.      Hannah Silverstein, “Kathryn Lively Named Interim Dean of the College,”

Dartmouth News (June 13, 2018), https://news.dartmouth.edu/news/2018/06/kathryn-

lively-named-interim-dean-college;

37.      Senior Staff, “Lively announced as interim Dean of the College,” The Dartmouth

(June 13, 2018), http://www.thedartmouth.com/article/2018/06/lively-announced-as-

interim-dean-of-the-college;

38.      Senior Staff, “Third Title IX investigation opened at Dartmouth,” The Dartmouth

(March 2, 2017), http://www.thedartmouth.com/article/2017/03/federal-government-

opened-third-title-ix-investigation;

39.      Alexander Agadjanian, “Class of 2017: Senior Survey,” The Dartmouth (June 9,

2017), http://www.thedartmouth.com/article/2017/06/class-of-2017-senior-survey

40.      Jillian Freeman, “Freeman: Yes Means Yes,” The Dartmouth (May 22, 2018),

http://www.thedartmouth.com/article/2018/05/freeman-yes-means-yes;

41.      Katherine Carithers and Paulina Calcaterra, “Calcaterra & Carithers: In Response

to ‘Yes Means Yes,’” The Dartmouth (May 24, 2018),

http://www.thedartmouth.com/article/2018/05/calcaterra-carithers-in-response-to-yes-

means-yes;

42.      Marshall Harris, “Harris: Consent is Complex,” The Dartmouth (May 24, 2018),

http://www.thedartmouth.com/article/2018/05/harris-consent-is-complex;




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43.      Emma Sampugnaro, “Sampugnaro: Decriminalizing Consent Violations,” (May

29, 2018), http://www.thedartmouth.com/article/2018/05/sampugnaro-decriminalizing-

consent-violations;

44.      Alexander Agadjanian, “Class of 2018: Senior Survey,” The Dartmouth (June 9,

2018), http://www.thedartmouth.com/article/2018/06/class-of-2018-senior-survey;

45.      Zachary Benjamin, “Students march against sexual assault,” The Dartmouth

(August 3, 2018), http://www.thedartmouth.com/article/2018/08/students-march-against-

sexual-assault;

46.      Gigi Grigorian, “A retrospective on discussions surrounding sexual assault” The

Dartmouth (September 10, 2018), http://www.thedartmouth.com/article/2018/09/sexual-

assault-retrospective;

47.      September 28, 2018 Email from Dartmouth Student Assembly, Subject: Dr. Ford:

We believe you;

48.      Hannah Silverstein, “President Hanlon Announces Plan for Sexual Misconduct

Policy,” Dartmouth News (October 15, 2018),

https://news.dartmouth.edu/news/2018/10/president-hanlon-announces-plan-sexual-

misconduct-policy;

49.      Senior Staff, “$70 million lawsuit alleges Dartmouth turned blind eye to sexual

abuse,” The Dartmouth (November 15, 2018),

http://www.thedartmouth.com/article/2018/11/college-faces-70-million-federal-class-

action-lawsuit;

50.      Lilly Dancyger, “Seven Students Sue Dartmouth Over Sexual Abuse

Allegations,” Rolling Stone (November 15, 2018),



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https://www.rollingstone.com/culture/culture-news/dartmouth-sexual-assault-student-

lawsuit-757059/;

51.      November 15, 2018 Email from President Hanlon, Subject: Lawsuit filed against

Dartmouth;

52.      Kyle Mullins, “Alumni question donating after sexual harassment lawsuit,” The

Dartmouth (December 3, 2018), http://www.thedartmouth.com/article/2018/12/alumni-

question-donating-after-sexual-harassment-lawsuit;

53.      Rachel Pakianathan, “Lawsuit puts spotlight on College’s practices concerning

sexual assault survivors,” The Dartmouth (December 10, 2018),

http://www.thedartmouth.com/article/2018/12/lawsuit-puts-spotlight-on-colleges-

practices-concerning-sexual-assault-survivors;

54.      Susan J. Boutwell, “Dartmouth to Increase Efforts to Prevent Sexual

Misconduct,” Dartmouth News (December 12, 2015),

https://news.dartmouth.edu/news/2018/12/dartmouth-increase-efforts-prevent-sexual-

misconduct?utm_source=vox_daily&utm_medium=email&utm_c%E2%80%A6;

55.      December 12, 2018 Email from President Hanlon, Subject: Important Community

Message;

56.      Kyle Mullins, “Nearly 800 Dartmouth community members sign letter in support

of sexual harassment plaintiffs,” The Dartmouth (December 17 2018),

http://www.thedartmouth.com/article/2018/12/over-800-dartmouth-community-members-

sign-letter-in-support-of-sexual-harassment-plaintiffs;

57.      Deirdre Fernandes, “After sexual harassment case, what’s next for Dartmouth

College?” Boston Globe (January 1, 2019),



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       https://www.bostonglobe.com/metro/2019/01/01/after-sexual-harassment-case-what-

       next-for-dartmouth-college/urzEqUu5TiH7ojaySEn52O/story.html;

       58.       January 3, 2019 Email from President Hanlon, Subject: Announcing the Campus

       Climate and Culture Initiative; and

       59.       “Dartmouth College outlines steps to address sexual harassment,” Boston Globe

       (January 3, 2019), https://www.bostonglobe.com/metro/2019/01/03/dartmouth-college-

       outlines-steps-address-sexual-harassment.

       60.       All documents on Defendant’s Exhibit List to which Plaintiff does not object.

       Plaintiff reserves the right to amend this Exhibit List upon proper notice to the Court and

the Defendant.

                                                      Respectfully submitted,

                                                      John Doe
                                                      By His Attorneys:
                                                      SHAHEEN & GORDON, P.A.

   Date: January 22, 2019                             /s/ William E. Christie
                                                      WILLIAM E. CHRISTIE
                                                      NH Bar # 11255
                                                      S. AMY SPENCER
                                                      NH Bar # 266617
                                                      ALEXANDER W. CAMPBELL
                                                      NH Bar # 268958
                                                      SHAHEEN & GORDON, P.A.
                                                      107 Storrs Street
                                                      Concord NH 03302
                                                      (603) 225-7262
                                                      wchristie@shaheengordon.com
                                                      saspencer@shaheengordon.com
                                                      acampbell@shaheengordon.com

                                                      Attorneys for plaintiff John Doe




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                               CERTIFICATE OF SERVICE

    I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).



DATED: January 22, 2019                            /s/ William E. Christie
                                                   William E. Christie
                                                   NH Bar No. 11255




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